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                        CERTIFICATION OF SERVICE

      I hereby certify that on July 23, 2024, a true and correct copy of the

foregoing motion was filed electronically. Notice of this filing will be sent by

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